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 7                                 UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9                                            FRESNO DIVISION
10

11
      GERALD CARLIN, JOHN RAHM, PAUL
12    ROZWADOWSKI and DIANA WOLFE,                           Case No. 1:09-cv-00430-AWI-EPG
      individually and on behalf of themselves and all
13    others similarly situated,
                                       Plaintiffs,
                                                             ORDER GRANTING IN PART
14    v.                                                     PLAINTIFFS’ MOTION FOR
                                                             SANCTIONS
15    DAIRYAMERICA, INC., and CALIFORNIA
      DAIRIES, INC.                                          (Doc. 443-4)
16                             Defendants
17

18
              Plaintiffs, Gerald Carlin, John Rahm, Paul Rozwadowski and Diana Wolfe, individually and
19
      on behalf of themselves and all others similarly situations (“Plaintiffs”) have filed a motion for
20
      sanctions, (ECF No. 443-4) against Defendant Dairy America Inc. (“Defendant” or “DairyAmerica”)
21
      based on its failure to disclose the names of three witnesses and the existence of a certain database
22
      pursuant to an order requiring the identification of information “likely to contain discoverable
23
      information relevant to the subject matter of this litigation.” (ECF No. 123). DairyAmerica filed an
24
      opposition. (ECF No. 471). The Court heard argument on July 26, 2017. (ECF No. 447, 451).
25
      Additionally, the parties filed supplemental briefing following oral argument. (ECF No. 460, 463).
26
      Without leave to do so, Defendant California Dairies also filed a statement after the argument. (ECF
27
      No. 457).
28
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 1           For the reasons described below, the motion for sanctions is granted in part.

 2           A. FACTUAL BACKGROUND
 3           Plaintiffs filed their initial complaint against Defendants Dairy America Inc. and
 4    California Dairies Inc. on March 6, 2009. (ECF No. 1). Plaintiffs filed a First Amended
 5    Complaint on April 3, 2009. (ECF No. 8)
 6           That complaint alleged that both Defendants were liable for negligent misrepresentation,
 7    unlawful or unfair business practices, and unjust enrichment based on their misrepresenting
 8    certain prices to the United States Department of Agriculture, which were used to set the raw
 9    milk prices paid to dairy farmers:
10           Plaintiffs and tens of thousands of other dairy farmers sold raw milk that was
11           priced according to a FMMO during the period January 1, 2002 through April 30,
             2007. The raw milk prices paid to those dairy farmers were set using FMMO
12           formulas that factor in dairy product prices obtained by the National Agricultural
             Statistics Service (“NASS”), a division of the United States Department of
13           Agriculture (“USDA”). NASS obtained the dairy product prices by regularly
             surveying firms that produce one million or more pounds of manufactured dairy
14
             products. One of the largest dairy firms surveyed by NASS was DairyAmerica,
15           Inc. (“DairyAmerica”). From January 1, 2002 through April 30, 2007,
             DairyAmerica negligently and incorrectly reported dairy product prices to NASS.
16           As a result, the raw milk prices set by the FMMOs were lower than they should
             have been, and Plaintiffs and the other members of the proposed class of dairy
17           farmers were deprived of millions of dollars of income.
18
             Prior to and throughout the Class Period, DairyAmerica was provided instructions
19           that identified precisely which dairy product prices to report to NASS. At all times
             relevant to this Complaint, DairyAmerica was aware that the dairy product prices
20           it reported to NASS would be, and were intended to be, incorporated into the raw
             milk prices set by FMMOs and paid to dairy farmers. Yet, by its own admission,
21           DairyAmerica failed to properly report its dairy product prices to NASS. A federal
             government investigation found that dairy farmers were deprived of millions of
22
             dollars in income as a result of DairyAmerica’s reporting errors. Defendants
23           profited substantially from DairyAmerica’s misreporting of dairy product prices to
             NASS.
24
       (ECF No. 8, at p. 1-2)
25
             The complaint also alleged that “California Dairies is the major shareholder in and
26
      majority owner of DairyAmerica. On information and belief, California Dairies directs and
27
      controls the activities of DairyAmerica.” (ECF No. 8, at p. 3-4).
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 1            The complaint also alleged the Defendants had concealed the misrepresentations and thus the

 2    statute of limitations had been tolled:

 3            Throughout the relevant time period, Defendants affirmatively concealed from
 4            Plaintiffs and class members the misrepresentations alleged herein and the
              identity of the dairy firm which negligently made such misrepresentations.
 5            DairyAmerica misrepresented dairy product prices in reports that were concealed
              from public review, and Defendants concealed the contents of the reports
 6            throughout the relevant time period. When NASS, AMS and the Inspector
              General investigated or announced the misreported dairy product prices,
 7            Defendants continued to conceal the identity of the misreporting dairy firm.
 8
              As a result of Defendants’ concealment, any applicable statute of limitations
 9            affecting the rights of Plaintiffs and class members has been tolled. Plaintiffs
              exercised due diligence to learn of their legal rights, and, despite the exercise of
10            due diligence, did not discover and could not have discovered the unlawful
              conduct alleged herein at the time it occurred. Plaintiffs could not have
11            discovered the unlawful conduct alleged herein until February 2008, when the
12            identity of the misreporting dairy firm was indirectly disclosed in the minutes of a
              meeting held by NASS’s Advisory Committee on Agriculture Statistics.
13
      (ECF No. 8, at p. 20).
14
              On February 9, 2010, the District Court granted Defendants’ Motion to Dismiss on the
15
      basis of the Filed Rate Doctrine. (ECF No. 83). Plaintiffs appealed and the Ninth Circuit
16
      reversed and remanded. (ECF No. 104)
17
              Following remand, the parties held a scheduling conference with the Magistrate Judge
18
      assigned to the case at that time, Magistrate Judge Gary A. Austin. (ECF No. 117). Off the
19
      record, the parties discussed initial discovery.
20
              Shortly after the conference, the parties submitted a stipulation and proposed order for
21
      Merits discovery. (ECF No. 122). The Court signed the stipulation and ordered, in relevant part,
22
      as follows:
23
              3. DairyAmerica shall disclose to plaintiffs, in writing, the following information by
24               no later than April 26, 2013:
25
                    a. The names, addresses, and telephone numbers of each individual likely to
26                     have discoverable information relevant to the subject matter of this litigation;

27                  b. The categories and locations of documents, including both paper and
                       electronically-stored documents, in DairyAmerica’s possession, custody, or
28                     control likely to contain discoverable information relevant to the subject

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                     matter of this litigation including, but not limited to, categories of
 1                   electronically-stored information previously compiled by DairyAmerica in
                     anticipation of document discovery in this case;
 2
      (ECF No. 123, p. 2-3).
 3
             DairyAmerica sent a letter to Plaintiff’s counsel on April 26, 2013. (ECF. 443-4, at p.
 4
      38). It contains the preface “Pursuant to Item 3(a) of the Stipulation and Order regarding Merits
 5
      Discovery entered April 3, 2013 (Stipulation), DairyAmerica Inc. is providing the names,
 6
      addresses, and telephone numbers of each individual likely to have discoverable information
 7
      relevant to the subject matter of this litigation.” It then listed 3 individuals: Richard Lewis,
 8
      Former CEO of DairyAmerica, Inc., Annette Smith, Office Manager Dairy America Inc., and
 9
      Jean McAbee, Controller DairyAmerica, Inc. It also listed electronically stored documents,
10
      which included “Accounting Database (Navision, which leaves an audit trail if modified).”
11
             On June 26, 2015, DairyAmerica served responses to Plaintiff’s First Set of
12
      Interrogatories. Plaintiff’s Interrogatory Number 7 requested “For the period 2000 through 2009,
13
      identify each employee of Dairy America that was responsible for determining the information to
14
      include in the weekly reports to the USDA, for preparing those weekly reports, and for sending
15
      those reports to USDA.” (ECF No. 443-4, at p. 57). In response, DairyAmerica asserted
16
      objections followed by the statement “DairyAmerica responds that Annette Smith and sometimes
17
      Jean McAbee prepared the weekly reports to NASS.” (ECF No. 443-4, at 58).
18
             Using their own investigators, Plaintiffs eventually located certain former employees of
19
      DairyAmerica, who had not been identified in DairyAmerica’s disclosures. Three such
20
      employees eventually executed declarations in this case.
21
             The declaration of Ralph Douglas White is dated June 8, 2015. (ECF No. 443-4, at pp.
22
      89-99.) Mr. White states that he was DairyAmerica’s Director of Sales from 1998 until 2011.
23
      His responsibilities included “identifying and interacting with domestic customers that purchased
24
      non-far dry milk (“NFDM”) from DairyAmerica, determining the prices at which DairyAmerica
25
      would sell NFDM to its domestic customers, negotiating and entering into contracts for the sale
26
      of NFDM by DairyAmerica, and implementing the terms of those contracts.” Mr. White
27
      describes speaking with Richard Lewis, Jean McAbee, employees of the USDA, about the
28

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 1    reporting requirements. For example, he states that “Between the period 2002 and 2006, on

 2    multiple occasions, I discussed whether Dairy America was complying with NASS’s instructions

 3    for submitting weekly reports with Richard Lewis. During that time period, we had many

 4    conversations about the issue. During those conversations, I questioned Richard Lewis about

 5    whether DairyAmerica was complying with NASS’s instructions for submitting weekly reports.

 6    Specifically, during those conversations, I asked Richard Lewis whether DairyAmerica was

 7    improperly including figures in the reports from non-DEIP sales of NFDM in which the selling

 8    price was set (and not adjusted) 30 or more days before the transaction was completed. I

 9    suggested to Richard Lewis that I did not think we should continue to include those figures . . . .”

10    Similarly, Mr. White states that he had discussions with Jean McAbee where he “suggested to

11    Jean McAbee that I did not think we should continue to include those figures in the reports to

12    NASS because DairyAmerica was defying NASS’s instructions.”

13           Based on the information gleaned from Mr. White, Plaintiffs filed a motion to amend

14    their complaint to, among other things, add claims for intentional misrepresentation and

15    Racketeer Influenced and Corrupt Organizations Act (“RICO”) and also add the members of the

16    Dairy America cooperative, including California Dairies, as defendants. (ECF No. 223). Based

17    in large part on the White Declaration, the District Court granted the motion to amend in part,

18    explaining:
19           [T]he dominant feature of the proposed RSAC is the presentation of new evidence in
             the form of the White Dec. that newly supports the previously alleged but
20
             unsupported allegations of knowing and purposeful misstatement of facts in the
21           weekly NASS questionnaires. The White Dec. is essentially a recounting of
             Deponent’s personal conversations with Dairy America’s executive officers and a
22           recounting of conversations had or heard by Deponent with the officers of the handler
             cooperatives that were the directors of DairyAmerica. The sum and substance of
23           these conversations support the previously unsupported allegation that Defendant
             DairyAmerica’s directors and the directors of the constituent handler cooperatives
24           had actual present knowledge that, under NASS reporting rules, wholesale prices for
             NFDM in forward sales contracts were not to be reported on the weekly NASS
25           questionnaires. The White Dec. also supports Plaintiffs’ allegation that the directors
26           of Defendant DairyAmerica and the directors of the constituent handler cooperatives
             had actual present knowledge that the improper reporting of wholesale price data for
27           forward contract sales on the NASS questionnaires would have the effect, particularly
             in a rising market for raw milk and NFDM, of shifting financial benefit to handlers to
28           the corresponding financial detriment of producers.

                                                                                                        4
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 1    (ECF No. 240, p. 6).

 2           On September 9, 2016, another former employee of DairyAmerica, Candice Bimemiller,

 3    executed a declaration. (ECF No. 443-4, at 101-104.) Ms. Bimemiller was employed as a Credit

 4    Manager at DairyAmerica from 2003 until 2009. She states that she reported directly to Richard

 5    Lewis, Jean McAbee, and Annette Smith. She worked on the accounting for DairyAmerica’s sales of

 6    nonfat dry milk to domestic customers. Her responsibilities included “assisting with the preparation

 7    of weekly domestic sales reports of NFDM to be sent to the USDA and CDFA.” She states “I

 8    assisted with the reporting of domestic sales of NFDM to the USDA and CDFA by providing final

 9    weekly sales figures to Annette Smith and Jean McAbee. It is my understanding that each week, Ms.

10    Smith and/or Ms. McAbee entered those sales figures into forms that were provided to USDA and

11    CDFA.” Ms. Bimemiller also describes meeting weekly with Richard Lewis to review domestic

12    sales figures to determine which would be reported to USDA and CDFA. “During the weekly

13    meetings, Richard Lewis would regularly instruct me to delay the reporting of certain sales of

14    NFDM. . . . The process of delaying the reporting of NFDM sales was clearly inconsistent with, and

15    in defiance of, instructions that were provided each week by USDA and CDFA.” She also states that

16    she was instructed “not to speak with the CDFA’s auditors.”

17           On August 21, 2016, former employee Lani Ellingsworth executed a declaration. (ECF No.

18    443-4, at 106-113.) Ms. Ellingsworth was employed as a staff accountant from 2000 to 2002, and

19    then as the Export Documentation Supervisor at DairyAmerica from 2002 until 2009. She reported

20    directly to Richard Lewis and Jean McAbee. During the last year of her employment, she also

21    reported to Annette Smith among others. Her responsibilities included “tracking and cataloguing the

22    prices and volumes of export sales.” In her declaration, she describes how “during the period 2001

23    through at least 2008, each and every week in which DairyAmerica reported prices from export sales

24    of NFDM to the National Agricultural Statistics Service (“NASS”), a division of United States

25    Department of Agriculture (“USDA”), those figures were fabricated by Richard Lewis and his staff

26    and did not accurately reflect export sales transactions.” Ms. Ellingsworth also describes how she

27    assembled an “electronic export documentation database that would contain and track figures relating

28    to export sales of NFDM.” She explains that this export documentation database included two sets of

                                                                                                           5
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 1    figures: “The first set of figures would consist of accurate figures from the actual sales of NFDM in

 2    the export market to foreign customers. The second set of figures would consist of fabricated export

 3    sales figures that were created internally at DairyAmerica.” She also explains how “the accurate

 4    export sales figures reflecting actual export transactions were never reported ty NASS.” She also

 5    describes how DairyAmerica concealed the accurate figures from auditors by removing boxes of

 6    accounting documents and concealing the export documentation database. Ms. Ellingsworth was

 7    terminated from DairyAmerica in 2009 “so that the company could conceal knowledge of its

 8    fraudulent activities.”

 9            Plaintiffs moved to amend their complaint based on the allegations described in these new

10    declarations. (ECF No. 377) Regarding the timing of the new claims, Plaintiffs argued in their

11    motion for leave to amend “The motion satisfies the “good cause” requirement of Fed. R. Civ. P.

12    16, as Plaintiffs exercised diligence to investigate the evidence and file the motion. Statutes of

13    limitations do not bar the proposed claims due to the delayed discovery rule and doctrine of

14    fraudulent concealment.” (ECF No. 380, p. 7). Defendants opposed amendment in large part

15    based on timeliness, asserting that Plaintiffs were not diligent in uncovering the allegations

16    underlying their complaint. (See e.g., ECF No. 397 at p. 9 (“amendment is futile because the

17    allegations are time-barred, and neither fraudulent concealment nor the discovery rule will toll

18    the applicable statutes of limitation.”); ECF. No. 422, p. 25 (“the onus is on Plaintiffs, after being
19    informed of a wrong regarding milk pricing, to investigate further to determine the specific aspects of

20    misreporting causing the harm.”).

21            B. PLAINTIFF’S MOTION FOR SANCTIONS
22            Plaintiff asks this Court to sanction DairyAmerica for failing to disclose three additional
23    individuals—Doug White, Candice Bimemiller, and Lani Ellingsworth—as well as the Export
24    Documentation Database. (ECF No. 443-4). Plaintiffs argue that Defendants failed to comply
25    with the initial disclosures order and also failed to provide this information in response to
26    interrogatories and document requests. Plaintiffs argue that the concealed information is the
27    same information DairyAmerica concealed from Government Auditors. Plaintiffs claim that
28    concealment caused them prejudice because they did not uncover the relevant information until

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 1    later in the case. Plaintiffs currently face challenges based on statute of limitations regarding

 2    claims asserted in the Fourth Amended Complaint, which are directly based on the information

 3    from the three undisclosed witnesses and Export Documentation Database.

 4           DairyAmerica objected to sanctions. (ECF No. 471). DairyAmerica contends that it

 5    understood the parties’ stipulation and court order regarding disclosures to be limited only to

 6    information supportive of its own case because it believed that the order was meant to track Rule

 7    26’s initial disclosures, which are limited to information “the disclosing party may use to support

 8    its claims or defenses.” Fed. R. Civ. P. 26(a)(1). Thus, DairyAmerica claims it was not required

 9    to identify persons and information that had information harmful to DairyAmerica or that

10    DairyAmerica would not use in its own defense. DairyAmerica claims that they did not realize

11    the witnesses had relevant information because “White never disclosed to DairyAmerica that he

12    had any information about misreporting,” Bimemiller and Elllingsworth were not involved in

13    NASS or CDFA reporting, and “at the time and until disclosed, these witnesses’ allegations

14    (intentional inclusion of forward pricing sales to USDA, delayed reporting, fabricated price

15    reporting, and CDFA) were not at issue. Additionally, DairyAmerica claims that it agreed to

16    provide copies of all users’ local documents (local c: drive) and a copy of the network drive from

17    the server” as of June 2009, including the program. Dairy America then attempted to produce

18    the Export Documentation Program, but the vendor deemed the files to be corrupt. Thus, the
19    failure to produce the program was not DairyAmerica’s fault. Moreover, there had again not

20    been an allegation at that time that DairyAmerica had produced false prices—merely that it had

21    wrongly included correct prices of export sales. DairyAmerica claims there is no prejudice to

22    Plaintiffs because they eventually discovered the information. DairyAmerica also states that it

23    disclosed the names of witnesses White, Mimemiller, and Ellingsworth on June 26, 2015 in a

24    supplemental discovery response.

25           C. LEGAL STANDARDS
26           Federal Rule of Civil Procedure 37(b)(2)(A) proves for sanctions for failure to comply
27    with a court order to provide discovery:
28

                                                                                                          7
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             (A) For Not Obeying a Discovery Order. If a party or a party's officer, director, or
 1               managing agent--or a witness designated under Rule 30(b)(6) or 31(a)(4)--
 2               fails to obey an order to provide or permit discovery, including an order under
                 Rule 26(f), 35, or 37(a), the court where the action is pending may issue
 3               further just orders. They may include the following:

 4               (i)        directing that the matters embraced in the order or other designated
                            facts be taken as established for purposes of the action, as the
 5                          prevailing party claims;
 6
                 (ii)       prohibiting the disobedient party from supporting or opposing
 7                          designated claims or defenses, or from introducing designated matters
                            in evidence;
 8
                 (iii)      striking pleadings in whole or in part;
 9

10               (iv)       staying further proceedings until the order is obeyed;

11               (v)        dismissing the action or proceeding in whole or in part;

12               (vi)       rendering a default judgment against the disobedient party; or
13
                 (vii)      treating as contempt of court the failure to obey any order except an
14                          order to submit to a physical or mental examination.

15    Fed. R. Civ. P. 37(b)(2)(C). As Professors Wright and Miller explain:
16                      Rule 37 is flexible. The court is directed to make such orders as are
                        “just” and is not limited in any case of disregard of the discovery
17                      rules or court orders under them to a stereotyped response. The
18                      sanctions enumerated in the rule are not exclusive and arbitrary but
                        flexible, selective, and plural. The district court may, within
19                      reason, use as many and as varied sanctions as are necessary to
                        hold the scales of justice even.
20
      Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2284, Discretion of
21
      District Court in Imposing Sanctions, 8B Fed. Prac. & Proc. Civ. § 2284 (3d ed.)
22
             Additionally, Rule 37 provides:
23
             (B) Payment of Expenses. Instead of or in addition to the orders above, the court
24
                 must order the disobedient party, the attorney advising that party, or both to
25               pay the reasonable expenses, including attorney's fees, caused by the failure,
                 unless the failure was substantially justified or other circumstances make an
26               award of expenses unjust.
27           Fed. R. Civ. P. 37(C). Imposition of sanctions under Rule 37 does not require a finding

28    of bad faith. Hyde & Drath v. Baker, 24 F.3d 1162, 1171, (9th Cir. 1994), as amended (July 25,

                                                                                                       8
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 1     1994) (“[W]e find no Ninth Circuit cases discussing a bad faith requirement under Rule 37(d).

 2     While a finding of bad faith is not a requirement for imposing sanctions, good or bad faith may

 3     be a consideration in determining whether imposition of sanctions would be unjust.”); Wright &

 4     Miller, 8B Fed. Prac. & Proc. Civ. § 2284 (3d ed.) (“[I]t is clear that any failure to disclose,

 5     regardless of the reason for it, brings the sanctions of Rule 37 into play, although the reason for

 6     the failure is an important consideration in determining what sanction to impose.”).

 7            Additionally, “[t]he inherent powers of federal courts are those which ‘are necessary to

 8     the exercise of all others,’ ” and include “the ‘well-acknowledged’ inherent power ... to levy

 9     sanctions in response to abusive litigation practices.” Roadway Express, Inc. v. Piper, 447 U.S.

10     752, 764–65, 100 S.Ct. 2455, 2463–64, 65 L.Ed.2d 488 (1980) (quoting United States v. Hudson,

11     11 U.S. (7 Cranch) 32, 34, 3 L.Ed. 259 (1812)). Courts are invested with inherent powers that

12     are “governed not by rule or statute but by the control necessarily vested in courts to manage

13     their own affairs so as to achieve the orderly and expeditious disposition of cases.” Chambers v.

14     NASCO, Inc., 501 U.S. 32, ––––, 111 S.Ct. 2123, 2132, 115 L.Ed.2d 27 (1991) (quoting Link v.

15     Wabash R.R. Co., 370 U.S. 626, 630–31, 82 S.Ct. 1386, 1388–89, 8 L.Ed.2d 734 (1962));

16     Unigard Sec. Ins. Co. v. Lakewood Engineering & Mfg. Corp. 982 F.2d 363, 368 (9th Cir. 1992)

17     (“This circuit has recognized as part of a district court's inherent powers the “broad discretion to

18     make discovery and evidentiary rulings conducive to the conduct of a fair and orderly trial.”)
19     (internal quotations omitted).

20            D. ANALYSIS
21            The initial question is whether DairyAmerica violated a Court order. Again, the Court’s
22     order stated in relevant part:
23            Shortly after the conference, the parties submitted a stipulation and proposed order for
24     Merits discovery. (ECF No. 122) The Court signed the stipulation and ordered, in relevant part,
25     as follows:
26            3. DairyAmerica shall disclose to plaintiffs, in writing, the following information by
27               no later than April 26, 2013:

28

                                                                                                             9
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                      a. The names, addresses, and telephone numbers of each individual likely to
 1                       have discoverable information relevant to the subject matter of this
                         litigation;
 2

 3                    b. The categories and locations of documents, including both paper and
                         electronically-stored documents, in DairyAmerica’s possession, custody,
 4                       or control likely to contain discoverable information relevant to the
                         subject matter of this litigation including, but not limited to, categories of
 5                       electronically-stored information previously compiled by DairyAmerica
                         in anticipation of document discovery in this case;
 6
       (ECF No. 123, p. 2-3).
 7
              DairyAmerica violated this order. DairyAmerica admits that it did not identify persons or
 8
       documents “likely to contain discoverable information relevant to the subject matter of this
 9
       litigation.” Instead, it only identified the information that supported its own position:
10
              THE COURT: Let me ask you this. So when you --when you were interpreting
11
              initial disclosures under that order, are you saying that you were only providing
12            the information that you thought supported your case and not the information that
              was just all relevant as the text was?
13
              MS. DAVIS: That's correct, your Honor . . . .
14

15     (ECF No. 451, at p. 92). The Court need look no further. In response to an order unambiguously
16     asking for identification of all relevant information, DairyAmerica admits that it only identified
17     information helpful to its side, and thus concedes that it withheld unfavorable information.
18     Withholding unfavorable information is a clear violation of the plan language of the order, as
19     well as the purpose of such a disclosure. Moreover, to claim to abide by such an order while in
20     fact withholding unfavorable information is an egregious form of concealment because Plaintiffs
21     did not know to challenge DairyAmerica’s interpretation. If DairyAmerica had said that it was
22     only producing information that supported its case, Plaintiffs could have quickly brought the
23     issue to the attention of the Court and obtained additional disclosures. But DairyAmerica chose
24     to only disclose favorable information without alerting anyone, and thus concealing information
25     as well as concealing DairyAmerica’s own concealment.
26            In its defense, DairyAmerica argues that it would be reasonable to interpret the Court’s
27     order as equivalent to Rule 26’s automatic Initial Disclosure requirement, which is limited to
28     information “that the disclosing party may use to support its claims or defenses.” Fed. R. Civ. P.

                                                                                                          10
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 1     26(a)(1)(A). But the order does not so limit DairyAmerica’s disclosures. The order refers to

 2     “limited merits discovery,” not Rule 26 initial disclosures. (ECF No. 123) The order uses the

 3     language “likely to have discoverable information relevant to the subject matter of this

 4     litigation,” not “that the disclosing party may use to support its claims or defenses.” Nor did

 5     DairyAmerica inform Plaintiffs it was so limiting its disclosures. To the contrary, DairyAmerica

 6     itself prefaced its disclosure following this order by stating “Pursuant to Item 3(a) of the

 7     Stipulation and Order Regarding Merits Discovery entered April 3, 2013 (Stipulation),

 8     DairyAmnerica, Inc. is providing the names, addresses, and telephone numbers of each

 9     individual likely to have discoverable information relevant to the subject matter of this

10     litigation.” (ECF No. 443-4, at p. 38) (emphasis added). There was no reason for Plaintiffs to

11     believe that such a disclosure only contained information that supported DairyAmerica’s

12     position.

13            Given DairyAmerica’s admission that it did not disclose witnesses and documents

14     according to the plain language of the order, and instead only disclosed information to the extent

15     it supported its defense, the Court need not go further in determining that DairyAmerica violated

16     a Court order. Nevertheless, the Court will examine the specific allegations regarding

17     individuals and electronic material allegedly withheld. For that purpose, the Court examines

18     whether the withheld individuals and information were “likely to have discoverable information
19     relevant to the subject matter of this litigation,” which at the time was whether Defendants were

20     liable for negligent misrepresentation, unlawful or unfair business practices, and unjust

21     enrichment based on their misrepresenting certain prices to the United States Department of

22     Agriculture, which were used to set the raw milk prices paid to dairy farmers. For purposes of

23     assessing what information is “relevant to the subject matter of this litigation,” it is worth noting

24     that the complaint at issue at the time of the disclosure order including the following description

25     of relevant issues common to the purported class:

26            a. whether DairyAmerica improperly reported dairy product prices to NASS;
27            b. whether DairyAmerica failed to exercise reasonable care when
              reporting dairy product prices to NASS;
28            c. whether dairy farmers were foreseeable and intended recipients of
              DairyAmerica’s misrepresentations;
                                                                                                         11
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              d. whether DairyAmerica’s misrepresentation of dairy product prices
 1            deprived income from dairy farmers;
 2            e. the nature of relief available by reason of Defendants' violations of law.

 3     (ECF No. 8, at p. 7). The following description of the negligent misrepresentation claim is also a

 4     good reference for examining the allegedly concealed information:

 5            96.     At all relevant times, DairyAmerica, among others, reported to NASS the
 6            price and quantity of the NFDM it sold. NASS provided instructions for reporting
              such information. The instructions required DairyAmerica and the other reporting
 7            firms to exclude sales in which the selling price was set (and not adjusted) 30 or
              more days before the transaction was completed, unless the sale was through the
 8            DEIP.
 9            97. From approximately January 2002 through April 2007, DairyAmerica
10            negligently and in violation of the NASS instructions included long-term, non-
              DEIP, forward contracted NFDM volume and price information in its weekly
11            submissions to NASS.

12            98. The improperly-reported NFDM prices had the effect of lowering the raw
              milk prices set by USDA using the FMMO formulas.
13

14            99. DairyAmerica knew that the prices it reported to NASS were intended to be,
              and would be, used in FMMO formulas to set the prices that were paid to
15            Plaintiffs and the other class members for the purchase of raw milk.

16            100. When including long-term forward contracted NFDM volumes and prices in
              their weekly submissions to NASS, DairyAmerica failed to exercise reasonable
17
              care. The facts available to DairyAmerica did not reasonably lead to the
18            conclusion that said conduct was proper.

19            101. Plaintiffs and the other members of the class justifiably and reasonably relied
              to their detriment on the prices set by USDA under the FMMOs as being the price
20            calculated based on the correct reporting of prices and volumes to NASS. Such
              reliance was foreseeable and intended by Defendants.
21

22            102. As a direct and proximate result of DairyAmerica' negligent conduct and
              statements, Plaintiffs and the other class members have suffered and are entitled
23            to compensatory and consequential damages, in an amount to be proven at trial.
24            103. California Dairies is liable for DairyAmerica’s negligent misrepresentations
              because DairyAmerica is an agent of California Dairies, because DairyAmerica is
25
              a joint venture between California Dairies and the other dairy cooperatives that
26            own it, and because California Dairies exercised control over DairyAmerica’s
              decision-making involving the sale and reporting of NFDM.
27

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 1     (ECF No. 8, at p. 21-22). With those allegations in mind, the Court turns to the three individuals

 2     and one database that DairyAmerica failed to disclose pursuant to the order.

 3                     i.      Candice Bimemiller

 4             According to Ms. Bimemiller’s own declaration, discussed above, she fit within the scope

 5     of the order and should have been disclosed. (ECF No. 443-4, at 101-104). Ms. Bimemiller was

 6     employed as a Credit Manager at DairyAmerica from 2003 until 2009. Her responsibilities included

 7     “assisting with the preparation of weekly domestic sales reports of NFDM to be sent to the USDA

 8     and CDFA.” She states “I assisted with the reporting of domestic sales of NFDM to the USDA and

 9     CDFA by providing final weekly sales figures to Annette Smith and Jean McAbee. It is my

10     understanding that each week, Ms. Smith and/or Ms. McAbee entered those sales figures into forms

11     that were provided to USDA and CDFA.” Even setting aside the more inflammatory parts of her

12     declaration, including that she was instructed to delay reporting of certain sales and not speak with

13     auditors, her involvement in preparing NFDM sales for reporting makes her “likely to have

14     discoverable information relevant to he subject matter of this litigation.”

15             In response, DairyAmerica only disputes Ms. Bimemiller’s claim that she was instructed to

16     delay the reporting of certain sales information in order to intentionally misreport sales. (ECF No.

17     471, at p. 11). In support, DairyAmerica includes the declarations of Jean McAbee and Annette

18     Smith who both declare the exact same statement “neither Lani Ellingsworth nor Candice Bimemiller

19     had nay involvement in USDA or California Department of Food and Agriculture (“CDFA”)

20     reporting.” (ECF No. 471-19, Smith Declaration at ¶ 4; ECF No. 471-20, McAbee Declaration at ¶

21     4). Neither declarations say anything further about Ms. Bimemiller. Neither declarations deny that

22     she was involved in reporting the domestic sales figures to Ms. Smith and Ms. McAbee for the

23     purpose of reporting those figures. At oral argument, counsel for DairyAmerica conceded this:

24             THE COURT: So let's hear from Ms. Davis [counsel for DairyAmerica] on that.
25             Do you –[interruption] agree that Ms. Bimemiller was preparing domestic sales
               figures about NFDM and giving them to Annette Smith and Macabee for reporting?
26
               MS. DAVIS: She gave -- she gave figures to the two that they used in their
27             reporting.
28

                                                                                                           13
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 1     (ECF No. 451, p. 78). See also ECF No. 451, pp. 79-80 (“THE COURT: And those -- when she

 2     tracks invoices and provides information, she's providing that to Annette Smith and Macabee for

 3     reporting to the USDA? MR. ENGLISH: She is providing the documents that they then use to

 4     confirm what will be reported to the USDA. . . . She provided data, but then the data was checked

 5     by those persons, and they actually did the reporting.”)).

 6             This Court need not resolve whether her testimony would establish intentional misreporting

 7     or not. For purposes of disclosure, her role in collecting data to report sales of NFDM is sufficient to

 8     make her “likely to have discoverable information” relevant to the pending claims, which included a

 9     claim for negligent misrepresentation of NFDM prices. A failure to disclosure her identity violated

10     the Court order.

11                     ii.     Lani Ellingsworth and the Export Database

12             According to Ms. Ellingsworth’s Declaration, she too was likely to have discoverable

13     information relevant to the litigation. (ECF. No. 443-4, at 106-113). Ms. Ellingsworth was

14     employed as a staff accountant from 2000 to 2002, and then as the Export Documentation Supervisor

15     at DairyAmerica from 2002 until 2009. Her responsibilities included “tracking and cataloguing the

16     prices and volumes of export sales.” Ms. Ellingsworth describes how she assembled an “electronic

17     export documentation database that would contain and track figures relating to export sales of

18     NFDM.” She explains that this export documentation database included two sets of figures: “The

19     first set of figures would consist of accurate figures from the actual sales of NFDM in the export

20     market to foreign customers. The second set of figures would consist of fabricated export sales

21     figures that were created internally at DairyAmerica.” She also describes how DairyAmerica

22     concealed the accurate figures from auditors by removing boxes of accounting documents and

23     concealing the export documentation database.

24             DairyAmerica concedes that Ms. Ellingsworth worked on a computer program that included

25     data regarding exported dairy products, but denies that it included fabricated export sales figures. At

26     oral argument, the Court attempted to obtain clarification regarding that program, but could not

27     get a straight answer from DairyAmerica. For example, the Court had the following exchange:

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 1            THE COURT: Uh-huh. Okay. Let's pause there. Do you agree -- Dairy America,
 2            do you agree that she was -- Ms. Ellingsworth was doing expert sales figures and
              compiling them for Smith and Macabee for reporting purposes of NFDM to the
 3            USDA?
              MS. DAVIS: No. I think that's somewhat inaccurate. She did the export
 4            documentation --
              THE COURT: Okay.
 5            MS. DAVIS: -- from a software program that its purpose was to create particular
 6            documents for export, but what -- she has a misconception and what I'd like to
              talk about -- and I think it would help clear up --
 7            THE COURT: Was she giving --
              MS. DAVIS: -- is that --
 8            THE COURT: I'm not ready for that.
              MS. DAVIS: I know.
 9
              THE COURT: And she gave --
10            MS. DAVIS: But -- but --
              THE COURT: And did -- and she gave that documentation to Smith and Macabee
11            for reporting purposes?
              MS. DAVIS: No, no. And I would need to give you a more fulsome explanation
12            so that you would understand why, but we would disagree with that.
              THE COURT: She -- okay. She didn't give anything to Smith and Macabee for
13
              reporting purposes?
14            MS. DAVIS: The documents that she created were for export purposes. The -- the
              pricing in those documents to the customer or to Fontera were two different kinds
15            of prices. The pricing that was reported to USDA was produced from something
              called NuVision and had a different purpose, and I can explain those three
16            purposes to your Honor, but the connection that they're trying to make from the
              export documentation that's made for health and, you know, all the different
17
              things that you have to do when you export something, is not the same thing as
18            the price that was reported to the USDA. If you want me to go on, I'll be happy to
              explain those -- those differences.
19
       (ECF No. 451, pp. 82-84). After some very confusing back and forth, the dialogue at oral
20
       argument on this point concluded as follows:
21
              THE COURT: Does the database, the export database that Ms. Ellingsworth
22            knows about, does it have the prices that --
23            MS. DAVIS: No.
              THE COURT: -- were reported to the USDA?
24            MS. DAVIS: No.

25     (ECF No. 451, at 88). Following oral argument, Plaintiffs submitted supplemental briefing

26     including a letter from counsel for DairyAmerica that appears to contradict this statement. The

27     letter addressed the export program and counsel represented “any price referenced is identical to

28     the prices in Navision (the database used by DairyAmerica personnel to report to the government

                                                                                                     15
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 1     and has been previously provided to Plaintiffs). This is because the source of the sales

 2     information contained in Navision and the Export Documentation program are the same.” (ECF

 3     No. 460, p. 92, Exhibit E to Plaintiffs’ Supplemental Brief in Support of Motion for Sanctions).

 4             What the Court can glean from all of this is that there is a computer program that contains

 5     sales information for export of dairy milk products, including sales prices. Some of the prices

 6     are the same as those provided to the government in reporting, although those prices were

 7     generated from another program that had identical prices. There were also other export prices

 8     related to dairy milk products. The parties vehemently disagree about what those other prices

 9     signify. For the purpose of this motion, however, the export program should have been

10     disclosed. It included pricing information related to export of dairy milk products, including the

11     prices ultimately reported to the USDA. It also had other data related to these exports. All in all,

12     Ms. Ellingsworth and the export database were likely to have discoverable information relevant

13     to the subject matter of this litigation.

14                     iii.    Doug White

15             According to the declaration of Doug White, he had discoverable information relevant to

16     the litigation. (ECF No. 443-4, pp. 89-99). Mr. White describes speaking with Richard Lewis,

17     Jean McAbee, employees of the USDA, about the reporting requirements. For example, he

18     states that “Between the period 2002 and 2006, on multiple occasions, I discussed whether Dairy
19     America was complying with NASS’s instructions for submitting weekly reports with Richard

20     Lewis. During that time period, we had many conversations about the issue. During those

21     conversations, I questioned Richard Lewis about whether DairyAmerica was complying with

22     NASS’s instructions for submitting weekly reports. Specifically, during those conversations, I

23     asked Richard Lewis whether DairyAmerica was improperly including figures in the reports

24     from non-DEIP sales of NFDM in which the selling price was set (and not adjusted) 30 or more

25     days before the transaction was completed. I suggested to Richard Lewis that I did not think we

26     should continue to include those figures . . . .” Similarly, Mr. White states that he had
27     discussions with Jean McAbee where he “suggested to Jean McAbee that I did not think we

28     should continue to include those figures in the reports to NASS because DairyAmerica was

                                                                                                         16
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 1     defying NASS’s instructions.” At oral argument, Plaintiffs’ counsel represented that Doug

 2     White was one of two people who negotiated pricing sales of forward pricing contracts of

 3     NFDM, and those were the contracts or those prices that were included in reporting to USDA but

 4     should not have been. (ECF No. 451, at p. 68).

 5                DairyAmerica concedes that Mr. White sold NFDM at prices that were reported to the

 6     government. DairyAmerica disputes that Mr. White knew of any misreporting.1 In its

 7     supplemental briefing, Plaintiffs included a number of correspondence from the relevant time

 8     period involving Mr. White and discussing reporting to NASS in relation to the prices of good he

 9     was responsible for selling. For example, in one email dated October 14, 2005, Mr. White writes

10     “We will be increasing the amount of powder we ship to the export market over the next few

11     months and there is a chance that a good portion will be reported at prices less than NASS . . . .”

12     (Exhibit L to Plaintiffs’ Supplemental Brief in Support of Motion for Sanctions). In another

13     exchange, Rich Lewis copies Mr. White on an email beginning “Based on our conversation this

14     AM regarding your producer comments on the index pricing,” and states in part “Once we get

15     through these contracts the NASS will start an unstoppable increase unless we as an industry

16     believe that NFDM prices above a certain level will be a detriment to our business. The only

17     thing that will slow the NASS is SMP exports that are priced below the CWAP and Members run

18     those orders as NFDM and we report those numbers to both the CWAP and NASS.” (Exhibit N
19     to Plaintiffs’ Supplemental Brief in Support of Motion for Sanctions).

20                Thus, while the parties again vehemently dispute the facts in Mr. White’s declaration,

21     Mr. White’s role in selling the product whose prices were reported, and discussions regarding

22     how prices would be reported and how it would affect other sales, are sufficient for the Court to

23     conclude that he should have been named as someone “likely to have discoverable information

24     relevant to the subject matter of this litigation.”

25
       1
           Without Court permission or legal justification, counsel for DairyAmerica submitted a declaration from Charles
26         English in camera. The declaration and accompanying documents argued against any attempt to conceal
           information and specifically provided information regarding correspondence with Mr. White to support its
27         position. The Court does not believe that in camera material not available to Plaintiffs or the public can
           appropriately be considered in connection with this motion for sanctions. That said, the Court believes that its
28         summary of DairyAmerica’s position is consistent with DairyAmerica’s in camera submission, although without
           the details provided in that submission.
                                                                                                                         17
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 1             E. ANALYSIS
 2
                       i.      Defenses Based on Untimeless of Asserting Claims Arising out of
 3                             Information from Withheld Witnesses and Documents

 4             DiaryAmerica argues that no sanctions are warranted because Plaintiffs now have access

 5     to those witnesses and thus no prejudice has resulted. (ECF No. 471, at p. 26 (“Plaintifffs have

 6     not suffered any harm or prejudice in the discovery proceedings because they were able to obtain

 7     all relevant evidence well before trial and, in fact, by attempting to amend the complaint again,

 8     will essentially have all requested evidence from the ‘outset’ of the claims.”); ECF No. 471, at p.

 9     27 (“Plaintiffs did, in fact, receive the three witnesses’ names in 2015.”).

10             Plaintiffs respond by pointing to Defendants’ opposition to Plaintiff’s motion to amend

11     the complaint currently pending before the District Court. As discussed above, Plaintiffs moved

12     to amend the complaint to assert allegations based on information provided by the three

13     undisclosed witnesses and undisclosed computer program. Indeed, DairyAmerica argues in its

14     pending opposition to Plaintiffs’ motion to amend the complaint based on this new information

15     that the claims are now barred by the statute of limitations:

16             Plaintiffs’ new allegations of misreporting are time barred. Under the delayed
               discovery rule, the statute of limitations began when Plaintiffs suspected
17             something was wrong with NASS or CDFA milk prices. When a plaintiff actually
               suspects wrongdoing or a reasonable person would suspect wrongdoing, she is on
18
               inquiry notice. . . . Plaintiffs, once on inquiry notice, must fully investigate their
19             claim and bring suit within the limitations period. . . . [T]he onus is on Plaintiffs,
               after being informed of a wrong regarding milk pricing, to investigate further to
20             determine the specific aspects of misreporting causing the harm.

21     (ECF No. 422, at p. 22-26). The District Judge has not yet ruled on Plaintiffs’ motion to amend.

22             DairyAmerica’s argument that Plaintiffs’ claims based directly from individuals and

23     documents DairyAmerica itself concealed should now be dismissed as untimely cannot stand. If

24     DairyAmerica had complied with its disclosure requirements under the order, and as it

25     represented in its own disclosure, Plaintiffs would have learned of the identities of the three

26     critical individuals on April 26, 2013, (ECF No. 443-4, at p. 38) two years earlier. Given

27     Plaintiffs diligence in securing declarations soon after learning of their identify, it is safe to

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 1     assume that Plaintiffs would have done the same two years earlier and been in a position to

 2     amend its complaint.

 3              These two years appear to be legally critical. DairyAmerica argues in its opposition to

 4     Plaintiffs’ motion for leave to file a Fourth Amended Complaint that “[Plaintiffs’] claims are

 5     barred if they suspected or should have suspected wrongdoing with respect to milk prices two or

 6     three years prior to the filing of their FAC (the proposed version of which is dated February 9,

 7     2017).” (ECF No. 422, at p. 23).

 8              Accordingly, pursuant to Federal Rule of Civil Procedure37(b)(2)(A)(ii), sanctions are

 9     appropriate to remove any defense on the basis of untimeliness to allegations stemming from the

10     three undisclosed witnesses and export program. 2 The Court thus orders that any claims based on

11     information from Ms. Bimemiller, Ms. Ellingsworth, Mr. White or the export program, which were

12     improperly withheld from DairyAmerica’s disclosure of April 26, 2013, be treated as if filed shortly

13     after April 26, 2013 for purpose of assessing any defenses based on the timing of filing,

14     including the statute of limitations.3

15                       ii.      Monetary Sanctions

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       2
18       Following briefing and oral argument regarding Plaintiffs’ motion, Defendant California Dairies filed a
       “Statement” objecting to any effect this Court’s order could have on claims against California Dairies. (ECF No.
19     457). This Court is not familiar with the extent to which information disclosed by the withheld witnesses and
       computer program have implicated California Dairies, and issue which is before the District Court in this case. But
20     this Court is generally aware that California Dairies has also opposed Plaintiffs’ motion to amend on the argument
       of untimeliness. (ECF No. 397, p. 8-9) (“ As a threshold matter, under Rule 16(b), Plaintiffs must prove good cause
21     exists to modify the Court's scheduling order deadline for amendments to the pleadings by establishing they were
       diligent in seeking leave to amend. Plaintiffs fail to meet this burden. . . . Further, amendment is futile because the
       allegations are time-barred, and neither fraudulent concealment nor the discovery rule will toll the applicable
22     statutes of limitation. . . . Plaintiffs cannot demonstrate they were diligent in investigating their claims.” ). This
       Court declines to carve out an exception to its sanction to allow California Dairies to dismiss claims based on
23     untimeliness that arose from the withheld information. As California Dairies notes in its arguments, its untimeliness
       arguments stem from the assumption that Plaintiffs could have discovered this information earlier with diligence.
24     That argument fails in light of the fact that Plaintiffs’ efforts would have revealed that information in April of 2013
       if DairyAmerica had complied with Court orders.
25     3
         The Court will not go further in striking particular portions of currently pending briefs or determining the exact
       way this decision affects arguments raised now or later in this case. Many of those arguments are before the District
26     Judge and this Court is not in a position to sort through which arguments are or are not valid in light of this
       determination. The parties should use this order to the extent relevant in current or future motions before this Court
27     or the District Judge to the extent timeliness becomes an issue. The intent of this order is to put Plaintiffs in the
       same position as if DairyAmerica had complied with the court order and disclosed the three witnesses and export
28     program on April 26, 2013.

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 1            Federal Rule of Civil Procedure 37(b)(2)(C) states that “[i]nstead of or in addition to the

 2     orders above, the court must order the disobedient party, the attorney advising that party, or both

 3     to pay the reasonable expenses, including attorney’s fees, caused by the failure, unless the failure

 4     was substantially justified or other circumstances make an award of expenses unjust.”

 5            Accordingly, the Court also issues sanctions against DairyAmerica in the amount of

 6     reasonable expenses, including attorney’s fees, of bringing the motion for sanctions. Plaintiffs

 7     shall submit the amount requested under this order, with all applicable support for the expenses

 8     and fees, no later than 14 days from the date of this order to epgorders@caed.uscourts.gov. The

 9     Court will issue a specific order with an amount following submission of this material.

10                     iii.   Additional Sanctions

11            The Court also orders that, 7 days from this order, DairyAmerica supplement its April 26,

12     2013 disclosure to fully comply with the plain text of the Court’s order, ECF. 123—not limited

13     to information DairyAmerica may use to support its claims or defenses, as previously limited by

14     DairyAmerica.

15            The Court orders that Plaintiffs have leave to re-open the depositions of Richard Lewis,

16     Jean McAbee, and Annette Smith, which were taken before Plaintiffs learned information

17     relevant to those witnesses from the withheld individuals.

18            The Court declines to issue the other sanctions requested by Plaintiff. The Court does not
19     believe that default judgment is appropriate under the circumstances, given that Plaintiffs now

20     have the relevant information and the prejudice should be cleared by the other sanctions

21     discussed in this order.

22            Plaintiffs raise a number of discovery sanctions, including leave to conduct up to forty

23     depositions. The Court will not issue that sanction in this motion, as it appears arbitrary and

24     untied to the newly gleaned information. That said, the Court will consider requests to take

25     depositions above the default limit of 10 depositions to the extent justified on a case by case

26     basis. The parties can raise this issue through discovery procedures in the normal course.
27     Similarly, the Court will entertain requests for additional interrogatories on a case by case basis.

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 1            F. CONCLUSION
 2            For the reasons stated, the Court grants in part Plaintiffs’ Motion for Sanctions. (ECF
 3     No. 443-4).
 4            Any claims based on information from Ms. Bimemiller, Ms. Ellingsworth, Mr. White or the
 5     export program, which were improperly withheld from DairyAmerica’s disclosure of April 26, 2013,
 6     shall be treated as if filed shortly after April 26, 2013 for purpose of assessing any defenses based
 7     on the timing of filing, including the statute of limitations.
 8            The Court also issues sanctions against DairyAmerica in the amount of reasonable
 9     expenses, including attorney’s fees, of bringing the motion for sanctions. Plaintiffs shall submit
10     the amount requested under this order, with all applicable support for the expenses and fees, no
11     later than 14 days from the date of this order to epgorders@caed.uscourts.gov. The Court will
12     issue a specific order with an amount following submission of this material.
13            7 days from this order, DairyAmerica supplement its April 26, 2013 disclosure to fully
14     comply with the plain text of the Court’s order, ECF. 122—not limited to information
15     DairyAmerica may use to support its claims or defenses, as previously limited by DairyAmerica.
16            The Court orders that Plaintiffs have leave to re-open the depositions of Richard Lewis,
17     Jean McAbee, and Annette Smith, which were taken before Plaintiffs learned information
18     relevant to those witnesses from the withheld individuals.
19
       IT IS SO ORDERED.
20

21        Dated:     August 23, 2017                               /s/
22                                                         UNITED STATES MAGISTRATE JUDGE

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